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            IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  PATRICK PRINCE,                    )
                                     )
        Plaintiff,                   ) Case No. 18 CV 2952
  v.                                 )
                                     )
  KRISTON KATO, RICHARD RYBICKI, )
  PAUL SARPALIUS, Chicago Police     )
  Sergeant W. ROONEY (Star No. 934), )
  UNKNOWN EMPLOYEES OF THE           ) District Court Judge Martha M. Pacold
  CITY OF CHICAGO, and the CITY OF ) Magistrate Judge Sunil R. Harjani
  CHICAGO, Illinois,                 )
                                     )
        Defendants.                  )




                       NOTICE CONCERNING HEARING

         NOW COMES Plaintiff, Patrick Prince, by and through his attorneys,

   and respectfully submits the following notice, and states:

         1.    Yesterday, this Court scheduled a hearing for the City’s motion

   for protective order for Friday, April 1, 2022. Dkt. 330.

         2.    Today, in furtherance of that order, this Court requested that Mr.

   Swaminathan appear at the hearing “given his familiarity with a similar

   issue in the Reyes/Solache cases.” Dkt. 331.

         3.    Mr. Swaminathan is unavailable on Friday, April 1, 2022, and

   out on a previously-schedule trip.

         4.    Though I have not participated in the litigation of the

   Reyes/Solache cases, I am familiar with the differential postures of the two

   cases, and will review the docket in Reyes/Solache concerning the PTP
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       production and the City’s motion concerning that production (which it

       referenced in a status report in this case), so that the Court’s questions can

       be answered on Friday.

             5.    Should this pose a problem for the Court, Plaintiff has no

       objection to the status being reset but the undersigned will be prepared to

       address all issues at the hearing Friday.

Dated: March 30, 2021

Jon Loevy
Anand Swaminathan
Steven Art
David B. Owens
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                                                    Respectfully submitted,

                                                    /s/ David B. Owens
                                                    One of Plaintiff’s Attorneys
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                             Certificate of Service

         I, David B. Owens, an attorney, hereby certify that on March 30, 2022,
   I caused the foregoing to be filed via this Court’s electronic filing system
   which effectuated service on all counsel of record.


                                         /s/ David B. Owens




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